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 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

**********************
BRYAN QUINONES and DONNA *
QUINONES as Parents and Legal            *
Representatives of their Minor           *
Daughter Y.Q.,                           *
                                         *          No. 11-154V
                    Petitioners,         *          Special Master Christian J. Moran
                                         *
v.                                       *          Filed: August 2, 2023
                                         *
SECRETARY OF HEALTH                      *
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Ramon Rodriguez, III, Sands Anderson PC, Richmond, VA, for Petitioners;
Christine M. Becer, United States Dep’t of Justice, Washington, DC, for
Respondent.

                  UNPUBLISHED DECISION AWARDING
                      ATTORNEYS’ FEES AND COSTS1
       Pending before the Court is petitioners’ motion for final attorneys’ fees and
costs. They are awarded $259,660.69.


       1
          Because this published decision contains a reasoned explanation for the action in this
case, it must be made publicly accessible and will be posted on the website for the United States
Court of Federal Claims and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This posting means the decision will be available to anyone
with access to the internet. In accordance with Vaccine Rule 18(b), the parties have 14 days to
identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the
identified material fits within this definition, the undersigned will redact such material from
public access.
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                                   *     *       *

       On March 11, 2011, petitioners filed for compensation on behalf of their
minor child, Y.Q., under the Nation Vaccine Injury Compensation Program, 42
U.S.C. §300aa-10 through 34. Petitioners alleged that Y.Q. suffered from a seizure
disorder, sensory integration disorder, and behavioral changes after receiving a
measles, mumps, and rubella vaccine on March 28, 2008. A brief summary of the
facts of this case through April 15, 2019, can be found in the undersigned’s
previous decision awarding interim attorneys’ fees and costs. 2019 WL 3889727
(Fed. Cl. Spec. Mstr. July 16, 2019).

      Thereafter, petitioners were found entitled to compensation. 2019 WL
4745123 (Fed. Cl. Spec. Mstr. Sep. 4, 2019). The parties began the process to
determine the reasonable amount of compensation. Petitioners continued filing
medical records as the parties engaged in settlement negotiations. On November
30, 2020, the parties filed a proffer, which the undersigned adopted as his decision
awarding compensation on December 2, 2020. 2020 WL 7706970 (Fed. Cl. Spec.
Mstr. Dec. 2, 2020).
       Petitioners sought (and received) multiple enlargements of time to file their
motion for attorneys’ fees and costs, primarily because the attorneys engaged in
work at the probate court had not completed their activities. On February 9, 2022,
petitioners filed a motion for final attorneys’ fees and costs (“Fees App.”).
Petitioners request a total of $278,770.71 delineated as follows: $178,138.00 in
attorneys’ fees, $62,582.71 in attorneys’ costs, and $38,050.00 in costs personally
incurred by petitioners. Fees App. at 17-18. On February 23, 2022, respondent
filed a response to petitioners’ motion. Respondent argues that “[n]either the
Vaccine Act nor Vaccine Rule 13 contemplates any role for respondent in the
resolution of a request by a petitioner for an award of attorneys’ fees and costs.”
Response at 1. Respondent adds, however that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id at
2. Additionally, he recommends “that the Court exercise its discretion” when
determining a reasonable award for attorneys’ fees and costs. Id. at 3. Petitioners
did not file a reply thereafter.

                                   *     *       *

       Because petitioners received compensation, they are entitled to an award of
reasonable attorneys’ fees and costs. 42 U.S.C. § 300aa–15(e). Thus, the question
at bar is whether the requested amount is reasonable.


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       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.
       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates
       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.
        Petitioners request the following rates of compensation for the work of their
counsel, Mr. Ramon Rodriguez, III: $383.00 per hour for work performed in 2017,
$394.00 per hour for work performed in 2018, $405.00 per hour for work
performed in 2019, $422.00 per hour for work performed in 2020, $444.00 per
hour for work performed in 2021 and 2022. The undersigned has reviewed the
requested rates and finds them to be reasonable and consistent with what special
masters have previously awarded to petitioners’ counsel for his Vaccine Program
work. See, e.g. Roy v. Sec’y of Health & Human Servs., No. 17-323V, 2022 WL
2449753 (Fed. Cl. Spec. Mstr. Jun. 9, 2022). Accordingly, the requested hourly
rates are reasonable.




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      B.     Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       The undersigned has reviewed the submitted billing entries and finds the
request to be largely reasonable. Mr. Rodriguez has provided ample detail in his
billing entries to allow the undersigned to assess their reasonableness. The
undersigned notes two issues, which necessitate an overall reduction, however.

       First, Mr. Rodriguez has billed some time for paralegal-nature tasks and
clerical tasks at his full attorney hourly rate. “Tasks that can be completed by a
paralegal or a legal assistant should not be billed at an attorney’s rate.” Riggins v.
Sec’y of Health & Human Servs., No. 99-382V, 2009 WL 3319818, at *21 (Fed.
Cl. Spec. Mstr. June 15, 2009). “[T]he rate at which such work is compensated
turns not on who ultimately performed the task but instead turns on the nature of
the task performed.” Doe/11 v. Sec’y of Health & Human Servs., No. XX-
XXXXV, 2010 WL 529425, at *9 (Fed. Cl. Spec. Mstr. Jan. 29, 2010). Billing at
any rate for clerical and other administrative work is not permitted in the Vaccine
Program. Rochester v. United States, 18 Cl. Ct. 379, 387 (1989) (noting that tasks
that “were primarily of a secretarial and clerical nature . . . should be considered as
normal overhead office costs included with the attorneys’ fees rates.”). Clerical and
administrative work includes tasks such as setting up meetings, reviewing invoices,
and filing documents, “for which neither an attorney nor a paralegal should
charge.” Hoskins v. Sec’y of Health & Human Servs., No. 15-071V, 2017 WL
3379270, at *3, 6–7 (Fed. Cl. Spec. Mstr. July 12, 2017); see also Floyd v. Sec’y
of Health & Human Servs., No. 13-556V, 2017 WL 1344623, at *13–14 (Fed. Cl.
Spec. Mstr. Mar. 2, 2017) (“[S]ome tasks performed by paralegals were
clerical/secretarial in nature. Examples include scheduling status conferences,
organizing exhibits, preparing compact discs, revising a short motion after an
attorney’s review, and filing documents through the CM/ECF system.”).

        Second, Mr. Rodriguez has billed his full hourly rate for time spent traveling
(e.g., billing entries on 11/27/17, 11/30/17, 11/16/19, 11/18/19). In the Vaccine
Program, special masters traditionally have compensated time spent traveling when
no other work was being performed at one-half an attorney’s hourly rate. See
Hocraffer v. Sec’y of Health & Human Servs., No. 99-533V, 2011 WL 3705153, at
*24 (Fed. Cl. Spec. Mstr. July 25, 2011); Rodriguez v. Sec'y of Health & Human
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Servs., No. 06-559V, 2009 WL 2568468, at *21 (Fed. Cl. Spec. Mstr. Jul. 27,
2009).

       Thus, in order to achieve “rough justice” the undersigned will reduce the
final award of fees by $6,000.00. See Florence v. Sec'y of Health & Human Servs.,
No. 15-255V, 2016 WL 6459592, at *5 (Fed. Cl. Spec. Mstr. Oct. 6, 2016) (citing
Fox v. Vice, 563 U.S. 826, 838 (2011). Petitioner is therefore awarded final
attorneys’ fees of $172,138.00.

      C.     Attorneys’ Costs Incurred
       Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioners request a total of
$62,582.71 in attorneys’ costs. Notable components of this amount include
$40,575.00 for the work of petitioners’ medical expert, Dr. Yuval Shafrir,
$11,900.00 for the work of life care planners at Occupational Assessment Services,
Inc., and $3,468.75 for work performed by JMW Settlements.
       For his invoice of $40,575.00 (which excludes a $1,000.00 retainer which
has already been reimbursed in the interim fees decision), Dr. Shafrir generally
billed his time at $350.00 per hour except for 17.75 he spent at the entitlement
hearings, which he billed at $500.00. The Court does not typically differentiate
expert rates based upon the task being performed, although $350.00 per hour is a
reasonable hourly rate for Dr. Shafrir’s work. Burgos v. Sec’y of Health & Human
Servs., No. 16-903V, 2022 WL 1055355 (Fed. Cl. Spec. Mstr. Mar. 15, 2022).
Moreover, Dr. Shafrir’s billing entries lack the specificity desired by the
undersigned. For example, Dr. Shafrir has entries for 5, 4, and 8.5 hours for
“preparing for hearing” without any indication of what he was doing (e.g., what
documents and literature was Dr. Shafrir reviewing?). Upon review, the
undersigned finds it reasonable to reduce Dr. Shafrir’s final amount by 10%.
Therefore, a reasonable amount for Dr. Shafrir’s work in this case is $36,517.50.

       Next, for the work of their life care planner Edward Provder at Educational
Assessments, Inc., petitioners request a total of $11,900.00. This amount is
comprised of three components: a flat fee of $6,500.00 for a life care plan, a flat
fee of $4,000.00 for a vocational evaluation, and $1,400.00 for a supplemental
report (representing two hours billed at $700.00 per hour). Fees App. Ex. 163 at
47, 68-69.


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       A flat-rate is not appropriate. See Culligan v. Secʼy of Health & Human
Servs., No. 14-318V, 2016 WL 1622967, at *10 (Fed. Cl. Spec. Mstr. Mar. 31,
2016) (declining to award an expert a flat fee); Jeffries v. Secʼy of Health &
Human Servs., No. 99-670V, 2006 WL 3903710, at *18 (Fed. Cl. Spec. Mstr. Dec.
15, 2006) (declining to award an expert a flat fee); Broushet v. Target Corp., 274
F.R.D. 432, 434 (E.D.N.Y. 2011) (awarding compensation to expert only for time
spent in deposition); see also Guidelines for Practice Under the National Vaccine
Injury Compensation Program, Section X. Chapter 3. ¶ A (“With regard to
attorneys’ fees and experts’ fees, the particular tasks for which fees are claim, the
amount of time spent on that task, the person who performed the task, and that
person’s billed hourly rate must be identified in contemporaneous, dated records”).
Customary (or preferred) ways of billing for activities do not justify a deviation
from the standard practice in which a reasonable fee is determined through the
lodestar method---multiplying a reasonable hourly rate by a reasonable number of
hours. See Miyake v. Sec’y of Health & Hum. Servs., No. 06-459V, 2009 WL
959563, at *18-20 (Fed. Cl. Spec. Mstr. Mar. 19, 2009).
      “When a petitioner’s counsel incurs expert costs that the attorney expects to
submit to the special master as a cost of a Vaccine Act case, it is that counsel's duty
to ‘monitor the expert’s overall fees to ensure that the fees remain reasonable.’”
Nuttall v. Sec’y of Health & Hum. Servs., 07-810V, 2014 WL 643584, at *3 (Fed.
Cl. Spec. Mstr. Jan. 23, 2014) (quoting Simon v. HHS, No. 05–941V, 2008 WL
623833 at *2 (Fed. Cl. Spec. Mstr. Feb. 21, 2008). Here, whether the petitioners,
acting through their retained attorney, monitored the work performed by Mr.
Provder is unclear. Petitioners have not explained why Mr. Provder was permitted
to submit invoices that did not comply with the standard practice in the Vaccine
Program.2

       Mr. Provder’s life care plan (Exhibit 153) reflects the end of his process.
However, there is no direct evidence about the amount of time preparing the plan
took. In addition, the hourly rate that Mr. Provder has charged for a supplemental
report ($700.00) exceeds, by at least a factor of three, the hourly rate typically
found to be reasonable for life care planners. See Hedlund v. Sec’y of Health &
Hum. Servs., No. 18-820V, 2022 WL 3133454, at *3 (Fed. Cl. Spec. Mstr. July 15,
2022) (“$250.00 per hour is higher than what life care planners typically bill at and



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         Respondent’s failure to interpose any objection to the billing method may have hindered
petitioners’ ability to offer an explanation.

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have been awarded”). This unsupported hourly rate suggests that other charges
exceed reasonable bounds as well.
      One potential option is to deny the fee request on the ground that petitioners
have failed to submit evidence required to make a reasonable award. However, the
undersigned is reluctant not to compensate for any work, especially when the
Secretary did not interpose any objection. Nonetheless, without adequate
documentation, the undersigned awards petitioners 25% of the requested amount,
which aligns to some degree to the excessive hourly rate charge. Petitioners are
awarded $2,975.00 for the work performed by Educational Assessments, Inc.3

       For work performed by Ms. Kimberly Schleede of JMW Settlements,
petitioners request $3,468.75, representing 9.25 hours billed at $375.00 per hour.
Fees App. Ex. 163 at 74. The undersigned has previously found Ms. Schleede’s
hourly rate to be reasonable given her extensive expertise consulting with Vaccine
Program petitioners, and the hours billed appear reasonable given the complexity
of the instant case. Wynne v. Sec’y of Health & Human Servs., No. 17-1908V,
2022 WL 1869355, at *3 (Fed. Cl. Spec. Mstr. May 3, 2022); Trigueros v. Sec’y of
Health & Human Servs., No. 16-1058V, 2021 WL 2767695, at *3-4 (Fed. Cl.
Spec. Mstr. May 27, 2021). The full amount requested will therefore be
reimbursed.

       The remaining expenses are comprised of travel by Mr. Rodriguez to attend
the entitlement hearing and meet with the life care planners, acquisition of medical
records, transcript costs, legal research fees, long distance calls, and postage. These
costs are largely reasonable except for $127.52 for scanning documents, and
petitioners have provided adequate documentation supporting them.
       Accordingly, petitioners are awarded final attorneys’ costs of $49,472.69.

       D.      Petitioners’ Costs

       Pursuant to General Order No. 9, petitioners have indicated they have
personally incurred costs totaling $38,050.00. These costs are associated with
establishing guardianship for Y.Q. in order to receive the stipulated damages. Due
to petitioners’ marital status, each parent was required to obtain their own
independent local counsel to provide representation to establish a court-appointed


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         In future cases, if people at Educational Assessments, Inc. prepared invoices showing
their hourly rate and the amount of hours worked, awards might be higher.

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guardian/conservator. Fees App. at 7. The requested amount can be further broken
down as follows:

           • $1,700.00 paid directly by Mr. Brian Quinones to his guardianship
             counsel, Mr. David Lorber, which appears to have been paid akin to a
             retainer and for initial legal services.
           • $11,880.00 in legal expenses incurred by Mr. Quinones for work in
             establishing the guardianship, which was awarded to Mr. Lorber by
             the Supreme Court, Suffolk County, New York, and which the court
             ordered to be paid by Midland Trust Company out of the non-medical
             trust established for Y.Q.
           • $13,420.00 paid by Ms. Donna Quinones for the work of her
             guardianship counsel, Ms. Kera Reed. This amount was awarded to
             Ms. Reed by the Supreme Court, Suffolk County, New York, and
             ordered to be paid by Midland Trust Company out of the non-medical
             trust established for Y.Q.
           • $11,050.00 for work performed by Ms. Theresa Yard, an attorney
             appointed by the Supreme Court, Suffolk County, New York to act as
             guardian ad litem for Y.Q. during the proceedings, and Ms. Jillian
             Holdsworth, an attorney appointed as court evaluator. The amount of
             their work was ordered to be paid by Midland Trust Company out of
             the non-medical trust established for Y.Q.

Fees App. at 16-17. These amounts were reviewed by the Supreme Court, Suffolk
County, New York for reasonableness. Fees App. Ex. 162 at 1. For each attorney,
the local court reduced the amount awarded to each attorney for his/ her work in
this case from the invoices submitted. The undersigned sees no reason to disturb
the findings of the New York court and shall therefore award the requested
amounts in full.

      E.      Conclusion

      The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award the following:

      1) a total of $221,610.69 (representing $172,138.00 in attorneys’ fees and
         $49,472.69 in attorneys’ costs) as a lump sum in the form of a check
         jointly payable to petitioners and their counsel, Mr. Ramon Rodriguez,
         III;



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       2) a total of $1,700.00 as a lump sum in the form of a check payable to
          Bryan Quinones;

       3) a total of $11,880.00 as a lump sum in the form of a check payable to
          Bryan Quinones and Midland Trust;

       4) a total of $13,420.00 as a lump sum in the form of a check payable to
          Donna Quinones and Midland Trust; and

       5) a total of $11,050.00 as a lump sum in the form of a check payable to
          Bryan & Donna Quinones, and Midland Trust.

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.4


               IT IS SO ORDERED.


                                                            s/Christian J. Moran
                                                            Christian J. Moran
                                                            Special Master




       4
          Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing their right to seek review.

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